            Case 1:21-cv-00256-LY Document 12 Filed 05/12/21 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
                                                     Civil Action No.: 1:21-cv-00256-LY
              Plaintiff,

       v.                                            TRIAL BY JURY DEMANDED

 DAVID YURMAN HOLDINGS LLC,

              Defendant.

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1)(i), and hereby voluntarily dismisses all of the claims asserted against

Defendant David Yurman Holdings LLC in the within action WITHOUT PREJUDICE. David

Yurman Holdings LLC has not served an answer or a motion for summary judgment.

Dated: May 12, 2021                                  Respectfully submitted,

Jay Johnson                                          SAND, SEBOLT & WERNOW CO., LPA
KIZZIA & JOHNSON, PLLC
1910 Pacific Avenue – Suite 13000                    /s/ Andrew S. Curfman
Dallas, Texas 75201                                  Andrew S. Curfman (Pro hac vice)
Telephone: (214) 451-0164                            Aegis Tower – Suite 1100
Facsimile: (214) 451-0165                            4940 Munson Street NW
Email: jay@kjpllc.com                                Canton, Ohio 44718
                                                     Telephone: (330) 244-1174
                                                     Facsimile: (330) 244-1173
                                                     Email: andrew.curfman@sswip.com

                                                     ATTORNEYS FOR PLAINTIFF
          Case 1:21-cv-00256-LY Document 12 Filed 05/12/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on May 12, 2021 to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system.


                                                    /s/ Andrew S. Curfman
                                                    Andrew S. Curfman




                                               2
